                          Case 1:08-cv-00790-OWW-GSA
                            James H. Wilkins, #116364      Document 31 Filed 07/13/09   Page 1 of 2
                                                                                   (SPACE BELOW FOR FILING STAMP ONLY)
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                        2   Fresno, CA 93720
                            Telephone: (559) 438-2390
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                        4    Attorneys for Plaintiff, CALIFORNIA DAIRIES,
                             INC., a California Corporation
                        5

                        6
                                                                 UNITED STATES DISTRICT COURT
                        7
                                                               EASTERN DISTRICT OF CALIFORNIA
                        8

                        9    CALIFORNIA DAIRIES, INC., a                                 Case Number 1:08-CV-00790-OWW-
                             California corporation,                                     GSA
                       10
                                                 Plaintiff,                              STIPULATION FOR RESCHEDULING
                       11                                                                OF DATES AND ORDER
                                       v.
                       12
                             RSUI Indemnity Company
                       13                                                                Action Filed: June 6, 2008
                                                 Defendant.
                       14

                       15
                                     Plaintiffs, CALIFORNIA DAIRIES, INC., by and through their counsel of record
                       16
                            James H. Wilkins of Wilkins, Drolshagen & Czeshinski, LLP, and Defendant RSUI
                       17
                            INDEMNITY COMPANY, by and through its counsel of record Jeffrey S. Whittington of
                       18
                            Kaufman Borgeest & Ryan LLP, submit the following stipulation for rescheduling the
                       19
                            following dates:
                       20
                            Discovery Cut-Off:                                              From 8/17/09        to    2/16/10
                       21
                            Non-Expert Discovery:                                           From 5/28/09        to    12/21/09
                       22
                            Expert Disclosures:                                             From 6/26/09        to    1/20/10
                       23
                            Supplemental/Rebuttal Expert Disclosures:                       From 7/27/09        to    2/3/10
                       24
                            Non- Dispositive Motion Filing Deadline:                        From 8/31/09        to    3/1/10
                       25
                            Non- Dispositive Motion Hearing Deadline:                       From 10/2/09        to    4/2/10
                       26
    WILKINS,                Dispositive Motion Filing Deadline:                             From 9/30/09        to    3/1/10
DROLSHAGEN &
CZESHINSKI LLP         27
50 N. Fresno Street,        Dispositive Motion Hearing Deadline:                            From 11/2/09        to    3/29/10
    Suite 204
Fresno, CA 93720       28
                            Settlement Conference Date:                                     From 8/31/09        to    2/17/10
                                                                                                                      10:00 AM


                            Stipulation for Rescheduling of Dates and [Proposed] Order

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                            Case 1:08-cv-00790-OWW-GSA
                             Pre-Trial Conference:     Document 31 From
                                                                    Filed 07/13/09
                                                                           12/7/09 Page
                                                                                     to 2 of 5/10/10
                                                                                             2
                        1
                             Trial Date:                                                        From 1/20/10       to    6/22/10
                        2
                             Dated: June           ,2008
                        3
                                                                                      WILKINS, DROLSHAGEN & CZESHINSKI LLP
                        4

                        5
                                                                                          By
                        6                                                                        James H. Wilkins
                                                                                          Attorneys for Plaintiff, CALIFORNIA DAIRIES,
                        7                                                                 INC., a California Corporation
                        8
                             Dated: June           ,2008
                        9
                                                                                      KAUFMAN BORGEEST & RYAN LLP
                       10

                       11
                                                                                          By
                       12                                                                        Jeffrey S. Whittington
                                                                                          Attorneys for Defendant RSUI INDEMNITY
                       13                                                                 COMPANY
                       14

                       15
                                                                                          ORDER
                       16

                       17                       IT IS SO ORDERED:

                       18    NO FURTHER CONTINUANCES GRANTED.

                       19

                       20    Dated: 7/8/2009

                       21
                                                                                                /s/ OLIVER W. WANGER
                       22                                                                       Honorable Oliver W. Wanger
                                                                                                UNITED STATES DISTRICT JUDGE
                       23

                       24

                       25

                       26
    WILKINS,
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                             Stipulation for Rescheduling of Dates and [Proposed] Order

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